                           UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW HAMPSHIRE




       Scottsdale Capital Advisors Corp. et al.,            Docket No. 1:16-cv-00545

                                      Plaintiffs
       v.
       The Deal, LLC, et al.,

                                      Defendants


        PLAINTIFFS’ OBJECTION TO DEFENDANTS’ MOTION TO DISMISS

       Plaintiffs Scottsdale Capital Advisors Corp. and John Hurry (collectively, “Plaintiffs”),

by and through their undersigned counsel, hereby object to Defendants the Deal, LLC (“The

Deal”) and William Meagher’s (“Meagher”) (collectively, “Defendants”) Motion to Dismiss for

lack of personal jurisdiction (the “Motion”).

       For the reasons described more fully in Plaintiffs’ Memorandum of Law in Support of

their Objection to Defendants’ Motion to Dismiss, Plaintiffs respectfully submit this court has

personal jurisdiction of Defendants and their Motion to Dismiss must be denied.

       WHEREFORE, Plaintiffs Scottsdale Capital Advisors Corp. and John Hurry respectfully

request that this Honorable Court:

       A) Deny Plaintiffs’ Motion to Dismiss; or, alternatively,

       B) Grant Defendants leave to conduct jurisdictional discovery; and

       C) Grant such other and further relief as may be just and proper.




       {00078078;1}
                                             Respectfully submitted,

                                             SCOTTSDALE CAPITAL ADVISORS CORP.
                                             AND JOHN HURRY
                                             By their attorneys
                                             DEVINE, MILLIMET & BRANCH, P.A.


Dated: February 16, 2017             By:         /s/ George Moore
                                       George R. Moore, Esquire (NH Bar No. 1791)
                                       111 Amherst Street
                                       Manchester, NH 03101
                                       603-669-1000


                                     HARDER, MIRELL & ABRAMS, LLP

Dated: February 16, 2017             By:           /s/ Charles Harder
                                       Charles J. Harder (pro hac vice)
                                       132 South Rodeo Drive, 4th Floor
                                       Beverly Hills, CA 90212
                                       424-203-1600


                                CERTIFICATE OF SERVICE

       I hereby certify that on this 16th day of February, 2017, I served a copy of the foregoing

pleading upon Defendants’ counsel in the manner specified herein:

       Electronically served through ECF:

       Elizabeth A. McNamara, Esq. – lizmcnamara@dwt.com
       John M. Browning, Esq. - jackbrowning@dwt.com
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       {00078078;1}
